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 5
     Attorney for Defendant
 6   GARRET G. GILILLAND III
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )
                                                    )      Case No. Cr. S-08-376 EJG
12                           Plaintiff,             )
                                                    )      STIPULATION AND
13                                                  )      ORDER CONTINUING STATUS
                      v.                            )      CONFERENCE; EXCLUSION OF TIME
14                                                  )
     GARRET G. GILILLAND III, et al.,               )      Date: February 25, 2011
15                                                  )      Time: 10:00 a.m.
                             Defendants.            )      Judge: Honorable Edward J. Garcia
16                                                  )
17             The United States of America, by and through Assistant U.S. Attorney Russell L. Carlberg,
18   and defendant Garret G. Gililland III, by and through counsel Scott L. Tedmon; defendant William
19   E. Baker, by and through counsel Assistant Federal Defender Douglas J. Beevers; defendant
20   Christopher M. Chiavola, by and through counsel Clyde M. Blackmon; defendant Brandon
21   Resendez, by and through counsel Peter Kmeto; defendant Leonard Williams, by and through
22   counsel Joseph J. Wiseman; defendant Nicole Magpusao, by and through counsel Krista Hart;
23   defendant Niche Fortune, by and through counsel Michael D. Long; defendant Kesha Haynie, by and
24   through counsel Eduardo G. Roy; and defendant Remy Heng, by and through counsel Robert J.
25   Saria, hereby stipulate that the Status Conference set for Friday, February 25, 2010 at 10:00 a.m., be
26   continued to Friday, March 18, 2011 at 10:00 a.m. before United States District Judge Edward J.
27   Garcia.
28

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 1           The government has provided a substantial volume of discovery to defense counsel. The
 2   total number of pages of discovery produced by the government exceeds 50,000 pages. Each of the
 3   above-enumerated defense counsel need additional time to review the discovery materials produced
 4   by the government and confer with their respective client. The government agrees to this requested
 5   continuance out of professional courtesy to defense counsel. However, this is the last stipulated
 6   continuance the government will agree upon and expects a trial date to be set at the March 18, 2011
 7   status conference.
 8           Based on the foregoing, the government and all defense counsel stipulate it is appropriate to
 9   continue the current status conference to Friday, March 18, 2011 at 10:00 a.m. The government and
10   all defense counsel further stipulate the Court should find that time be excluded through March 18,
11   2011 under the Speedy Trial Act based on complexity and the need of counsel to prepare pursuant
12   to 18 U.S.C. §3161(h)(8)(B)(ii) and (iv); Local Code T2 and Local Code T4. The government and
13   all defense counsel further stipulate and agree that the interests of justice served by granting this
14   continuance outweigh the best interests of the public and the defendant in a speedy trial pursuant
15   to18 U.S.C. § 3161(h)(8)(A).
16           As to defendant Christopher Chiavola, the government requests that defendant Chiavola’s
17   matter be set for change of plea on February 25, 2011 at 10:00 a.m.
18           Finally, Scott L. Tedmon has been authorized by the government and all defense counsel to
19   sign this stipulation on their behalf.
20   IT IS SO STIPULATED.
21   DATED: February 18, 2011                      BENJAMIN B. WAGNER
                                                   United States Attorney
22
                                                   /s/ Russell L. Carlberg
23                                                 RUSSELL L. CARLBERG
                                                   Assistant U.S. Attorney
24
25   DATED: February 18, 2011                      LAW OFFICES OF SCOTT L. TEDMON
26                                                 /s/ Scott L. Tedmon
                                                   SCOTT L. TEDMON
27                                                 Attorney for Defendant Garret Gililland III
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 1   DATED: February 18, 2011          DANIEL J. BRODERICK
                                       Federal Defender
 2
                                       /s/ Douglas J. Beevers
 3                                     DOUGLAS J. BEEVERS, AFD
                                       Attorney for Defendant William E. Baker
 4
     DATED: February 18, 2011          BLACKMON & ASSOCIATES
 5
                                       /s/ Clyde M. Blackmon
 6                                     CLYDE M. BLACKMON
                                       Attorney for Defendant Christopher Chiavola
 7
     DATED: February 18, 2011          LAW OFFICES OF PETER KMETO
 8
                                       /s/ Peter Kmeto
 9                                     PETER KMETO
                                       Attorney for Defendant Branson Resendez
10
     DATED: February 18, 2011          LAW OFFICES OF JOSEPH J. WISEMAN
11
                                        /s/ Joseph J. Wiseman
12                                     JOSEPH J. WISEMAN
                                       Attorney for Defendant Leonard Williams
13
     DATED: February 18, 2011          LAW OFFICES OF KRISTA HART
14
                                       /s/ Krista Hart
15                                     KRISTA HART
                                       Attorney for Defendant Nicole Magpusao
16
     DATED: February 18, 2011          LAW OFFICES OF MICHAEL D. LONG
17
                                       /s/ Michael D. Long
18                                     MICHAEL D. LONG
                                       Attorney for Defendant Niche Fortune
19
     DATED: February 18, 2011          DLA PIPER, LLP
20
                                       /s/ Eduardo G. Roy
21                                     EDUARDO G. ROY
                                       Attorney for Defendant Kesha Haynie
22
     DATED: February 18, 2011          LAW OFFICES OF SARIA & SARIA
23
                                       /s/ Robert J. Saria
24                                     ROBERT J. SARIA
                                       Attorney for Defendant Remy Heng
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 1                                                 ORDER
 2          GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
 3 ORDERED that the Status Conference now scheduled for Friday, February 25, 2011 at 10:00 a.m.,
 4 is hereby continued to Friday, March 18, 2011 at 10:00 a.m., before the Honorable Edward J. Garcia.
 5 Based upon the above stipulation, the Court finds that time be excluded under the Speedy Trial Act
 6 for complexity and need of counsel to prepare pursuant to 18 U.S.C. §3161(h)(8)(B)(ii) and (iv),
 7 Local Code T2 and Local Code T4, through the Status Conference date of March 18, 2011. The
 8 Court finds that the interests of justice served by granting this continuance outweigh the best interests
 9 of the public and each defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h)(8)(A).
10          IT IS FURTHER ORDERED that as to defendant Christopher Chiavola, defendant Chiavola’s
11 matter be placed on calendar for change of plea on Friday, February 25, 2011 at 10:00 a.m.
12          IT IS SO ORDERED.
13
14 DATED: February 23 , 2011                       /s/ Edward J. Garcia
                                                   EDWARD J. GARCIA
15                                                 United States District Judge
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